  Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.1 Page 1 of 9




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                    IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH

 UNITED STATES OF AMERICA,                Case No. 22-mj-00605 DBP

       Plaintiff,                         COMPLAINT

       vs.                                Count 1: 21 U.S.C. § 841(a)(1) Possession
                                          with Intent to Distribute
 INNOCENTE ROGER RAMIREZ,                 Methamphetamine ( >500 grams)

       Defendant.                         Count 2: 21 U.S.C. § 841(a)(1)
                                          Possession with Intent to Distribute
                                          Heroin ( >1 kilogram)

                                          Count 3: 21 U.S.C. § 841(a)(1)
                                          Possession with Intent to Distribute
                                          Cocaine ( >5 kilograms)

                                          Count 4: 21 U.S.C. § 841(a)(1)
                                          Possession with Intent to Distribute
                                          Fentanyl

                                          Count 5: 18 U.S.C. § 924(c),
                                          Possession of a Firearm in Furtherance of
                                          a Drug Trafficking Crime

                                          Magistrate Judge Dustin B. Pead




                                      1
   Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.2 Page 2 of 9




       Before the Honorable Dustin B. Pead, Chief United States Magistrate Judge for the

District of Utah, appeared the undersigned, who on oath deposes and says:

                                        COUNT 1
                                   21 U.S.C. § 841(a)(1)
                  (Possession With Intent to Distribute Methamphetamine)

       On or about August 30, 2022, in the District of Utah,

                            INNOCENTE ROGER RAMIREZ,

defendant herein, did knowingly and intentionally possess with intent to distribute 500 grams

or more of a mixture or substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, within the meaning of 21 U.S.C. § 812; all in violation of

21 U.S.C. § 841(a)(1), and punishable pursuant to 21 U.S.C. § 841(b)(1)(A).



                                        COUNT 2
                                  21 U.S.C. § 841(a)(1)
                       (Possession with Intent To Distribute Heroin)

       On or about August 30, 2022, in the District of Utah,

                            INNOCENTE ROGER RAMIREZ,

defendant herein, did knowingly and intentionally possess with intent to distribute one

kilogram or more of a mixture or substance containing a detectable amount of Heroin, a

Schedule I controlled substance within the meaning of 21 U.S.C. § 812, all in violation of 21

U.S.C. § 841(a)(1) and punishable pursuant to 21 U.S.C. § 841(b)(1)(A).




                                             2
   Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.3 Page 3 of 9




                                         COUNT 3
                                   21 U.S.C. § 841(a)(1)
                       (Possession with Intent To Distribute Cocaine)

       On or about August 30, 2022, in the District of Utah,

                            INNOCENTE ROGER RAMIREZ,

defendant herein, did knowingly and intentionally possess with intent to distribute five

kilograms or more of a mixture or substance containing a detectable amount of cocaine, a

Schedule II controlled substance within the meaning of 21 U.S.C. § 812, all in violation of

21 U.S.C. § 841(a)(1) and punishable pursuant to 21 U.S.C. § 841(b)(1)(A).



                                         COUNT 4
                                   21 U.S.C. § 841(a)(1)
                       (Possession with Intent To Distribute Fentanyl)

       On or about August 30, 2022, in the District of Utah,

                            INNOCENTE ROGER RAMIREZ,

defendant herein, did knowingly and intentionally possess with intent to distribute Fentanyl,

a Schedule II controlled substance within the meaning of 21 U.S.C. § 812, all in violation of

21 U.S.C. § 841(a)(1) and punishable pursuant to 21 U.S.C. § 841(b)(1)(C).



                                        COUNT 5
                                    18 U.S.C. § 924(c)
           (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

              On or about August 30, 2022, in the District of Utah,



                                             3
   Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.4 Page 4 of 9




                            INNOCENTE ROGER RAMIREZ,

defendant herein, knowingly possessed a firearm in furtherance of a drug trafficking crime

for which he may be prosecuted in a court of the United States, that is Possession with Intent

to Distribute Methamphetamine, as charged in Count 1 of this complaint and incorporated

herein, a violation of 21 U.S.C. § 841(a)(1); all in violation of 18 U.S.C.§ 924(c)(1)(A).


   This complaint is made on the basis of investigation consisting of the following:

   1. Your affiant, Special Agent Hector Funes, with Homeland Security Investigations

       (HSI), being duly sworn under oath, do hereby depose and state, I am a Special

       Agent with HSI, assigned to the HSI Salt Lake City, Utah office. Your affiant has

       been employed as a Special Agent since August 2020. In 2021, your affiant

       graduated from the 12-week Criminal Investigator Training Program located at the

       Federal Law Enforcement Training Center. Additionally, in 2021, your affiant

       graduated from the 12-week Immigration and Customs Enforcement Special Agent

       Training program also at the Federal Law Enforcement Academy. The 24-week

       course curriculum included criminal law involved in many facets of criminal

       investigations, drug identification, physical surveillance, preparation for

       prosecution, Fourth Amendment searches, drafting search warrant affidavits and

       what constitutes probable cause. During my tenure as a criminal investigator, your

       affiant has participated as a case agent and support agent in numerous investigations

       covering various areas of criminal law. During these investigations, your affiant has


                                             4
Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.5 Page 5 of 9




   participated in interviewing witnesses and cooperating sources regarding these

   various crimes, and your affiant has read official reports of similar interviews by

   other officers. Your affiant has participated in surveillance operations, observing

   and recording movements of persons involved in criminal activity. In the course of

   my work, I have been part of numerous drug related cases. During those operations I

   have seized various types of illegal narcotics, including heroin and

   methamphetamine, interacted and spoken with defendants, participant witnesses and

   informants, who have personal knowledge of the transporting, laundering, and the

   concealing of proceeds of narcotic sales. I have investigated several types of

   narcotics cases from street level drug dealers to larger drug trafficking

   organizations. Your affiant has authored search warrants, seizure warrants, tracking

   warrants, pen registers, and other court orders in furtherance of criminal

   investigations your affiant has participated in. As a federal agent, your affiant is

   authorized to investigate violations of laws of the United States and is a law

   enforcement officer with the authority to execute warrants issued under the authority

   of the United States.

2. This affidavit does not contain all of the information known to me or to law

   enforcement regarding this investigation, but rather contains only those facts

   believed to be necessary to obtain authorization to arrest INNOCENTE ROGER

   RAMIREZ (hereinafter, “RAMIREZ”). Information developed to date as a result of

   my investigation and the investigation of others revealed the following facts.

                                          5
Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.6 Page 6 of 9




1. Beginning in August 2022, Homeland Security Investigations (HSI), Office of the

   Assistant Special Agent in Charge in Salt Lake City (ASAC/SLC) agents working

   with full-time task force officers (TFO’s) from the Utah County Major Crimes

   (UCMC) began an investigation into RAMIREZ.

2. In August of 2022, at the direction of HSI Special Agents (SA’s) and UCMC TFO’s

   a confidential source of information (CI) placed a call to a Mexican drug trafficking

   organization (DTO) dispatch line in order to purchase one (1) pound of

   methamphetamine.

3. The CI was instructed by the DTO to meet in the area of the Home Depot, located at

   4581 S 4000 W, West Valley City, Utah. Prior to the controlled buy, the CI and CI’s

   vehicle were searched for contraband, and none was found.

4. During the controlled buy, law enforcement maintained surveillance and observed

   the controlled buy from afar. After the CI purchased the methamphetamine, the CI

   met law enforcement at a predetermined location where the methamphetamine,

   approximately 450 grams, was recovered and tested, and it tested positive for the

   presence of methamphetamine.

5. At the same time, HSI SA’s and UCMC TFO’s conducted surveillance and followed

   the individual, later identified as RAMIREZ, who had sold the CI the

   methamphetamine. RAMIREZ was observed driving a 2011 GMC Sierra.

   RAMIREZ was then observed arriving at a residence located on Meadowbrook

   Drive in West Valley City, Utah.

                                        6
Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.7 Page 7 of 9




6. Based on their investigation, UCMC TFO’s applied for and were granted a tracker

   warrant on the GMC Sierra which was monitored for approximately one week.

   During this time, law enforcement also conducted physical surveillance on

   RAMIREZ and his vehicle.

7. During the physical surveillance, RAMIREZ was witnessed entering a storage unit,

   unit DD19, located on Warm Springs Road in Salt Lake City, Utah. RAMIREZ was

   witnessed inputting the gate code to the storage center, unlocking the storage unit,

   and driving his vehicle into the unit.

8. On August 30, 2022, law enforcement sought and obtained a state search warrant

   authorizing them to search RAMIREZ’s residence on Meadowbrook Drive, the

   GMC Sierra, and his storage unit, DD19, on Warm Springs Road.

9. That same day, law enforcement executed the search warrants.

10. During the execution of the search warrant of storage unit DD19 on Warm Springs

   Road, law enforcement seized the following:

      a. approximately twenty-two thousand eight hundred (22,800) grams of

          methamphetamine (including the packaging) which tested positive for the

          presence of methamphetamine;

      b. approximately fifteen thousand two hundred (15,200) grams of heroin

          (including the packaging) which tested positive for the presence of heroin;

      c. approximately five thousand nine hundred and fifty (5,950) grams of cocaine

          (including the packaging) which tested positive for the presence of cocaine;

                                            7
Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.8 Page 8 of 9




      d. approximately five thousand (5,000) fentanyl pills which tested positive for

          the presence of fentanyl; and

      e. seventeen (17) firearms, two of which were confirmed to have been stolen.

11. During the execution of the search warrant at Ramirez’s residence on Meadowbrook

   Drive, law enforcement seized the following:

      a. two (2) firearms;

      b. Drug paraphernalia including packaging material.

12. That same day, a traffic stop was conducted and RAMIREZ was taken into custody.

   RAMIREZ, post-Miranda, agreed to speak with law enforcement. RAMIREZ stated

   that he knew that he was in trouble and only started distributing narcotics because

   he needed money. RAMIREZ stated that he would take the packaging material

   found at his house to repackage his product at a different location. RAMIREZ stated

   that he got into distributing and holding narcotics through an acquaintance.

   RAMIREZ stated that he would be instructed on where to drop off narcotics in the

   Salt Lake Valley. When asked about the firearms located in his residence,

   RAMIREZ stated that he possessed the firearms in his residence because he was

   worried about any repercussions that could arise as he was dealing and distributing

   in narcotics.

13. Based on the aforementioned facts, I believe there is probable cause that RAMIREZ

   committed the offenses of Title 21, United States Code, Section 841, Possession of

   Methamphetamine with Intent to Distribute, Possession of Heroin with Intent to

                                          8
   Case 2:22-mj-00605-DBP Document 1 Filed 08/31/22 PageID.9 Page 9 of 9




      Distribute, Possession of Cocaine with Intent to Distribute, and Possession of

      Fentanyl with Intent to Distribute, and Title 18, United States Code, Section 924(c)

      for Possession of a Firearm in Furtherance of a Drug Trafficking Crime.


   14. I declare under penalty of perjury under the laws of the United States that the

      foregoing is true and correct. Further, based on the foregoing information, your

      affiant respectfully requests that the complaint and warrant of arrest be issued for

      RAMIREZ for the violations of law described in this complaint.




Affiant
Special Agent Hector Funes
Homeland Security Investigations


SUBSCRIBED AND SWORN to before me via video-teleconference this 31st day of
August, 2022.


DUSTIN B. PEAD
U.S. Magistrate Judge
District of Utah

APPROVED:

TRINA A. HIGGINS
United States Attorney

 /s/ Vernon Stejskal
VERNON G. STEJSKAL
Assistant United States Attorney




                                             9
